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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA



                                                      )
  UNITED AMERICAN CORP., a Florida                    )
  company,                                            )
                                                      )
         Plaintiff,                                   )
                                                      )
  v.                                                  )   Case No. 1:18-cv-25106 KMW
                                                      )
  BITMAIN, INC., SAINT BITTS LLC d/b/a                )
  BITCOIN.COM, ROGER VER, BITMAIN                     )
  TECHNOLOGIES LTD., BITMAIN                          )
  TECHNOLOGIES HOLDING COMPANY,                       )
  JIHAN WU, PAYWARD VENTURES, INC.                    )
  d/b/a KRAKEN, JESSE POWELL,                         )
  AMAURY SECHET, SHAMMAH                              )
  CHANCELLOR, and JASON COX,                          )
                                                      )
         Defendants.                                  )
                                                      )
                                                      )

                        DEFENDANT PAYWARD VENTURES, INC.’S
                         CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Payward Ventures, Inc.

  discloses that its parent company is Payward, Inc. and that no publicly held corporation owns

  more than 10% of Payward Ventures, Inc. stock.

  Date: January 10, 2019                              Respectfully Submitted,
                                                      /s/ Andrew C. Lourie_________________
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                                                             - and -
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                                                      Attorneys for Defendant Payward Ventures,
                                                      Inc.



                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 10, 2019, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing

  to all counsel of record for the parties.



                                                                    /s/ Andrew C. Lourie_______
                                                                    Andrew C. Lourie




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